











NO. 07-09-0144-CR

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL B

DECEMBER 17, 2009
______________________________

DAVID O. MEEKINS, 

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Appellant

v.

THE STATE OF TEXAS, 

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Appellee
_________________________________

FROM THE COUNTY COURT AT LAW NO. 2 OF LUBBOCK COUNTY;

NO. 2007-443160; HON. DRUE FARMER, PRESIDING
_______________________________

Opinion
_______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;David O. Meekins pled guilty to and was convicted of possessing two or less ounces
of marijuana after the trial court denied his motion to suppress.  Whether the trial court
acted properly in so acting is now before us.  Meekins believes that the motion should have
been granted because 1) the arresting officer unreasonably prolonged his detention, and
2) his consent to search his vehicle was neither positive or unequivocal.  We reverse the
judgment.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Background 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;On January 12, 2007, at approximately 11:00 p.m., Officer Tony Williams observed
appellant and his companion depart from a house purportedly known for drug activity.
When they arrived at the house, how long they stayed, and their reason for being there
were unknown to the officer, and are unknown to us.   Nonetheless, upon seeing them
leave the abode and walk to a vehicle parked down the block, the officer and his recruit
decided to follow them.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;After driving away, appellant made a turn without signaling.  This resulted in the
initiation of a traffic stop and the officers approaching the vehicle.  According to Williams,
both of the vehicleâs occupants appeared nervous.  This conclusion was derived from
appellant moving around in his seat while the passenger remained still.  Nonetheless,
Williams acquired appellantâs driverâs license, checked it for outstanding warrants, and
returned to the vehicle.  Nothing of record discloses whether appellant was the subject of
any arrest warrant.  Nor does the record illustrate what information, if any, the officer
obtained as a result of running appellantâs license.  Yet, it is clear that upon returning to
appellantâs car, he solicited consent to search it.  That solicitation continued over a period
of about a minute and included approximately six requests.  The officer asked that many
times because appellant would not commit one way or the other.  Indeed, captured on the
video of the event was the officer informing appellant that he was being asked a âyes or noâ
question.  Furthermore, the last request propounded to appellant consisted of Williams
asking: âDo you mind if I look?â  To it,  appellant answered âyes,â according to the officer. 
Upon so replying, appellant was ordered to exit the car.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;As he left the vehicle, appellant appeared to place a hand in his pocket.  This
resulted in Williams grabbing appellantâs hand and asking permission to search the content
of his pocket.  Therein was found the marijuana for which appellant was prosecuted.    
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Law
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The applicable standard of review is discussed in Ford v. State, 158 S.W.3d 488

(Tex. Crim. App. 2005).  It requires us to give great deference to the trial courtâs
interpretation of historical fact and assessment of a witnessâ credibility.  Id. at 493.
However, we need not give such deference to its application of the law to the facts,
especially when those facts are undisputed.  Neal v. State, 256 S.W.3d 264, 281 (Tex.
Crim. App. 2008).  In the latter situation, we consider the matter de novo.  Id.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Next, no one contests the validity of the initial detention.  Simply put, Williams had
the authority to stop appellant when he witnessed the traffic violation.  Whren v. United
States, 517 U.S. 806, 810, 116 S. Ct. 1769, 1772, 135 L. Ed. 2d 89 (1996) .  No one denies
that the directive to exit the car was tantamount to a continuation of the detention.  Nor
does anyone dispute that the officerâs directive to exit arose from what he believed to be
appellantâs consent to search.  Similarly absent is any dispute regarding whether
justification for, or the purpose of, the initial stop had ended by the time the officer sought
consent to search the vehicle.  See Kothe v. State,152 S.W.3d 54, 63-64 (Tex. Crim. App.
2004) (stating that in a routine traffic stop, police officers may request certain information
from a driver, such as a driver's license and car registration, and may conduct a computer
check on that information, but after this computer check is completed, and the officer knows
that this driver has a currently valid license, no outstanding warrants, and the car is not
stolen, the traffic-stop investigation is fully resolved and the detention must end).  Rather,
the controversy before us involves whether appellant consented to the search, and that is
the question we address here.      
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;When relying upon consent to justify the lawfulness of a search, the State must
prove by clear and convincing evidence that the consent was freely and voluntarily given. 
Bumper v. North Carolina, 391 U.S. 543, 548, 88 S. Ct. 1788, 1792, 20 L. Ed. 2d 797 (1968); 
Johnson v. State, 226 S.W.3d 439, 443 (Tex. Crim. App. 2007); Brown v. State, 212
S.W.3d 851, 869 (Tex. App.âHouston [1st Dist.] 2006, pet. refâd).  In meeting the burden,
it must also show that the consent was positive and unequivocal.  Meeks v. State, 692
S.W.2d 504, 509 (Tex. Crim. App. 1985); Brown v. State, 212 S.W.3d at 869.  Incidentally,
consent is not of that ilk if it amounts to no more than acquiescence to a claim of lawful
authority.  Brown v. State, 212 S.W.3d at 869.  Finally, the existence of legitimate consent
is a question of fact to be determined from the totality of circumstances appearing of
record, and, unless the trial court abuses its discretion, its decision must be affirmed. 
Johnson v. State, 226 S.W.3d at 443 (holding that the applicable standard of review is one
of abused discretion).   
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Application of Law
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;As previously described, the video of the stop revealed that Williams asked for
consent about six times.  Appellantâs first five replies to those solicitations were evasive and
so much so that they resulted in the officer informing him that the inquiry was a âyes or no
question.â  The officerâs desire to hear a âyesâ or ânoâ answer continued until appellant said
âyesâ or âI guessâ to the last solicitation.  Because that utterance allegedly evinced to
Williams âclear and unequivocalâ consent, he ordered appellant to exit the vehicle.  The
problem comes, however, in the nature of the question to which appellant said âyesâ or âI
guess.â  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The officer had not asked âmay I searchâ but rather âwould you mind if I look?â 
Answering âyesâ to the latter meant that appellant did mind.  Answering âI guessâ also had
and has like connotation; that is, saying âI guessâ in response to being asked if one minds
whether something happens can well indicate that he does.  To this we add appellantâs
prior evasiveness in response to the officerâs persistence in asking for consent.  When
combined, the circumstances paint not a picture of clarity or unequivocation but rather one
of vacillation and hesitance.  More importantly, to somehow conclude from the entirety of
the scenario that saying âyesâ or âI guessâ meant that appellant finally acquiesced to the
search invites speculation into various matters.  Those matters consist of whether appellant
failed to listen to the specific question asked by Williams, whether he ignored the last
question and opted to answer those previously propounded, or whether he reinterpreted
the question from one asking âwould you mindâ to one asking âmay I search.â  Yet, authority
denies both this court and the initial factfinder from engaging in speculation given the
absence of supporting evidence.  Â&nbsp;
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Simply put, the situation before us is not one in which the historical facts are in
dispute, for they are not.  They were put to rest by both the video and Williamsâ
confirmation of what appeared on the video.  What was said and done was said and done,
neither can be questioned nor changed.  Thus, we merely are left with applying the
undisputed facts to the law regarding consent, and that is a task undertaken de novo.  And,
upon undertaking that task, we hold, as a matter of law, the State failed to clearly and
convincingly prove that appellant granted the officer positive, unequivocal, and voluntary
consent to search his car.


    
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Despite our conclusion that the issue before us involved consent, there is some
allusion in the Stateâs brief regarding whether the officer had reasonable suspicion to
believe appellant engaged in some drug crime.  The Stateâs appellate counsel tended to
downplay that proposition during oral argument but to the extent the matter was not
conceded, we will address it briefly.  First, we know of no authority holding that simply
seeing someone leave a ânarcotics houseâ at 11 p.m. and enter a car parked down the
block gives rise to reasonable suspicion to believe that criminal activity is afoot.  Nor did
we find any.  Indeed, it appears that the opposite is true for being in an area known for its
high crime at night does not alone permit an officer to detain the traveler.  See e.g. Klare
v. State, 76 S.W.3d 68, 73-74 (Tex. App.âHouston [14th Dist.] 2002, pet. refâd).  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Furthermore, Williams having characterized appellantâs conduct as akin to âalmost
like they were trying to sneak down the blockâ is of no moment.  This is so since
establishing reasonable suspicion required the presentation of articulable âfacts.â  Scott v.
State, 549 S.W.2d 170, 172 (Tex. Crim. App. 1978).  Labeling the conduct of appellant and
his colleague as sneaky or sneaking is an opinion founded on fact, but in so opining the
officer failed to disclose the facts which permitted him to reasonably develop the opinion. 
So, the officerâs opinion had no probative value in the overall equation.  As repeatedly
uttered by Sargent Joe Friday, âjust the facts please . . . just the facts.â 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;That the officer also characterized appellantâs parking down the block as suspicious
is also of little value.  This is so because he thought that one engaging in innocent conduct
would have parked in the empty driveway given the inclement weather.  Yet, defense
counsel had him admit that he did not know when appellant arrived at the house, did not
see him enter it, did not know how long he remained in the house, and did not know
whether the driveway was empty when appellant arrived.  Indeed, the officer also
concluded that he was merely âspeculating.â
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;As for the allegation that the location from which appellant exited was a ânarcotics
house,â Williams based that upon 1) a âsheetâ that the narcoticâs department âputâs [sic] out
every six months, sometimes longerâ and 2) his having âworked the house beforeâ and
âworked with officers at that house . . . [who] made narcotics arrests . . . from that house.â 
But, the record contains no evidence illustrating when the house was âworkedâ or when the
arrests were made.  Both events could have happened days, weeks, months, or years
earlier.  Nor does the record disclose either when the narcotics department issued the
âsheetâ used by Williams or when he actually acquired it.  Thus, the information in it could
well have been stale especially since it was disbursed every six months or âsometimes
longer.â  We see no reason why the timeliness of the data on which the police rely should
be of less importance in the reasonable suspicion equation than it is when determining the
existence of probable cause for purposes of securing a search warrant.  See e.g. Blake v.
State, 125 S.W.3d 717, 725 (Tex. App.âHouston [1st Dist.] 2003, no pet.) (noting the
timeliness of the information as a factor to consider when issuing a warrant).  Time has the
effect of making the information stale in both situations.  So, without our knowing the age
of the âfactsâ underlying the observation that the abode was a ânarcotics house,â the label
is of little help.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Finally, we address the observation that further detention was also permissible
because appellant and his passenger appeared nervous.  Again, Williams so testified.  He
also disclosed the facts upon which he derived that opinion.  They consisted of appellant
moving around while his passenger remained still.  Though nervousness can be a relevant
indicia, Illinois v. Wardlow, 528 U.S. 119, 124, 120 S. Ct. 673, 676, 145 L. Ed. 2d 570 (2000) 
 (so holding), that is not necessarily true here.  This is so because of the âCatch 22" nature
of the conduct being observed.  Irrespective of whether those in the car sat still or moved
around, either mode of conduct depicted nervousness according to the officer.  As Mrs.
Quinn once said years ago, âyou canât have it both ways.â  While we do not want to nullify
the probative value an officer may place on the indicia of nervousness, it is rather common,
and natural, for most everyone to exhibit it when stopped by police officers.  This may be
due to some respect accorded them or the realization that they have power and authority
beyond that available to an ordinary citizen, but whatever the reason, detention at the
hands of law enforcement personnel often instills a bit of dread even in the hearts of the
innocent.  This, coupled with the possibility that most any conduct now can be deemed
nervous, tends to discredit the value of the factor.  And, as the indicia appeared here, we
hesitate to engage in the speculation needed to view contrasting or opposite conduct as
indicative of the same thing without any explanation as to why that is.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;In sum, the record before us does not permit one to objectively conclude that
appellantâs leaving the ânarcotics houseâ and appearing nervous provided Officer Williams
with reasonable suspicion to detain appellant.  So, that cannot be a basis for justifying
detention once the purpose for the original stop (i.e. investigating the traffic violation)
ended. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Dissent
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Concerning the dissent of Justice Campbell, we respectfully say the following.  First,
it is clear that an officer may ask one for permission to search a vehicle after the purpose
of the initial stop ends.  Strauss v. State, 121 S.W.3d 486, 491 (Tex. App.âAmarillo 2003,
pet. ref'd).  Yet, we have not found authority permitting law enforcement personnel to hold
the detainee until the latter gives consent to search.  Again, the justification for continuing
the detention is gone and any further delay must necessarily be consensual.  A police
officer directing the person to answer his question is hardly a consensual exchange. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Second, while an officer may be able to ask a detainee to step out of the vehicle, id.,
the dissent cites no authority permitting such request once the reason for the stop has
ended, which includes the two cases cited by the dissent.  That may be because our Court
of Criminal Appeals has held that once that point has been reached, the suspect must be
released.  Kothe v. State, 152 S.W.3d at 63-64.  Asking someone who has failed to grant
consent to search to exit the car or repeatedly soliciting consent is nothing more than doing
that prohibited in Kothe.  Once the basis for a stop no longer exists and the detainee has
not consented to a search, he must be released unless there exists other circumstances
evincing probable cause or reasonable suspicion to continue the detention.         
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Nor do we find succor in the dissentâs suggestion that discovery of the contraband
was lawful merely because appellant consented to the search of his pocket.  By that time,
the initial justification for the stop had ceased.  By that time, appellant had already been
subjected to repeated requests for leave to search by one officer while another armed
officer stood nearby.  By that time, appellant had illustrated his reluctance if not refusal to
permit a consensual search.  By that time, he had been ordered to exit the car by an officer
who lacked unequivocal permission to search.  By that time, one could reasonably interpret
the officersâ conduct as indicative of their intent to continue the detention until appellant
answered in an acceptable way.  But, by that time, only seconds had passed between the
pressure being applied by the officer, the latterâs unfounded order to get out of the car, and
appellantâs âconsentâ to search the pocket.  These circumstances negate the existence of
opportunity for reflective thinking necessary for there to be any attenuation between the
officerâs improper conduct and his receipt of consent to search the pocket.  And, without
satisfying the prerequisite of attenuation, appellantâs consent is not voluntary.  Stone v.
State, 279 S.W.3d 688, 693 (Tex. App.âAmarillo 2006, pet. refâd) (holding that consent may
be valid after an unlawful stop if there is sufficient attenuation between the stop and
consent).  This latter observation also negates the dissentâs suggestion that we found the
search of appellantâs pocket to be consensual.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Accordingly, the judgment is reversed, and the cause is remanded to the trial court.
Â&nbsp;
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Brian Quinn
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Chief Justice


Campbell, J., dissents.

Publish.



sans-serif";
	mso-fareast-font-family:Arial;
	mso-bidi-language:EN-US;}
p.MsoNoSpacing, li.MsoNoSpacing, div.MsoNoSpacing
	{mso-style-priority:1;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	mso-style-parent:"";
	margin:0in;
	margin-bottom:.0001pt;
	mso-pagination:widow-orphan;
	font-size:11.0pt;
	font-family:"Arial","sans-serif";
	mso-fareast-font-family:Arial;
	mso-bidi-language:EN-US;}
p.MsoListParagraph, li.MsoListParagraph, div.MsoListParagraph
	{mso-style-priority:34;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	margin-top:0in;
	margin-right:0in;
	margin-bottom:10.0pt;
	margin-left:.5in;
	mso-add-space:auto;
	line-height:115%;
	mso-pagination:widow-orphan;
	font-size:11.0pt;
	font-family:"Arial","sans-serif";
	mso-fareast-font-family:Arial;
	mso-bidi-language:EN-US;}
p.MsoListParagraphCxSpFirst, li.MsoListParagraphCxSpFirst, div.MsoListParagraphCxSpFirst
	{mso-style-priority:34;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	mso-style-type:export-only;
	margin-top:0in;
	margin-right:0in;
	margin-bottom:0in;
	margin-left:.5in;
	margin-bottom:.0001pt;
	mso-add-space:auto;
	line-height:115%;
	mso-pagination:widow-orphan;
	font-size:11.0pt;
	font-family:"Arial","sans-serif";
	mso-fareast-font-family:Arial;
	mso-bidi-language:EN-US;}
p.MsoListParagraphCxSpMiddle, li.MsoListParagraphCxSpMiddle, div.MsoListParagraphCxSpMiddle
	{mso-style-priority:34;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	mso-style-type:export-only;
	margin-top:0in;
	margin-right:0in;
	margin-bottom:0in;
	margin-left:.5in;
	margin-bottom:.0001pt;
	mso-add-space:auto;
	line-height:115%;
	mso-pagination:widow-orphan;
	font-size:11.0pt;
	font-family:"Arial","sans-serif";
	mso-fareast-font-family:Arial;
	mso-bidi-language:EN-US;}
p.MsoListParagraphCxSpLast, li.MsoListParagraphCxSpLast, div.MsoListParagraphCxSpLast
	{mso-style-priority:34;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	mso-style-type:export-only;
	margin-top:0in;
	margin-right:0in;
	margin-bottom:10.0pt;
	margin-left:.5in;
	mso-add-space:auto;
	line-height:115%;
	mso-pagination:widow-orphan;
	font-size:11.0pt;
	font-family:"Arial","sans-serif";
	mso-fareast-font-family:Arial;
	mso-bidi-language:EN-US;}
p.MsoQuote, li.MsoQuote, div.MsoQuote
	{mso-style-priority:29;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	mso-style-link:"Quote Char";
	mso-style-next:Normal;
	margin-top:0in;
	margin-right:0in;
	margin-bottom:10.0pt;
	margin-left:0in;
	line-height:115%;
	mso-pagination:widow-orphan;
	font-size:11.0pt;
	font-family:"Arial","sans-serif";
	mso-fareast-font-family:Arial;
	color:black;
	mso-bidi-language:EN-US;
	font-style:italic;}
p.MsoIntenseQuote, li.MsoIntenseQuote, div.MsoIntenseQuote
	{mso-style-priority:30;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	mso-style-link:"Intense Quote Char";
	mso-style-next:Normal;
	margin-top:10.0pt;
	margin-right:.65in;
	margin-bottom:14.0pt;
	margin-left:.65in;
	line-height:115%;
	mso-pagination:widow-orphan;
	border:none;
	mso-border-bottom-alt:solid #4F81BD .5pt;
	padding:0in;
	mso-padding-alt:0in 0in 4.0pt 0in;
	font-size:11.0pt;
	font-family:"Arial","sans-serif";
	mso-fareast-font-family:Arial;
	color:#4F81BD;
	mso-bidi-language:EN-US;
	font-weight:bold;
	font-style:italic;}
span.MsoSubtleEmphasis
	{mso-style-priority:19;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	color:gray;
	font-style:italic;}
span.MsoIntenseEmphasis
	{mso-style-priority:21;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	color:#4F81BD;
	font-weight:bold;
	font-style:italic;}
span.MsoSubtleReference
	{mso-style-priority:31;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	font-variant:small-caps;
	color:#C0504D;
	text-decoration:underline;
	text-underline:single;}
span.MsoIntenseReference
	{mso-style-priority:32;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	font-variant:small-caps;
	color:#C0504D;
	letter-spacing:.25pt;
	font-weight:bold;
	text-decoration:underline;
	text-underline:single;}
span.MsoBookTitle
	{mso-style-priority:33;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	font-variant:small-caps;
	letter-spacing:.25pt;
	font-weight:bold;}
p.MsoTocHeading, li.MsoTocHeading, div.MsoTocHeading
	{mso-style-noshow:yes;
	mso-style-priority:39;
	mso-style-qformat:yes;
	mso-style-parent:"Heading 1";
	mso-style-next:Normal;
	margin-top:24.0pt;
	margin-right:0in;
	margin-bottom:0in;
	margin-left:0in;
	margin-bottom:.0001pt;
	line-height:115%;
	mso-pagination:widow-orphan lines-together;
	page-break-after:avoid;
	font-size:14.0pt;
	font-family:"Arial","sans-serif";
	mso-fareast-font-family:"Times New Roman";
	mso-bidi-font-family:"Times New Roman";
	color:#365F91;
	mso-bidi-language:EN-US;
	font-weight:bold;}
span.Heading1Char
	{mso-style-name:"Heading 1 Char";
	mso-style-priority:9;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Heading 1";
	mso-ansi-font-size:14.0pt;
	mso-bidi-font-size:14.0pt;
	font-family:"Arial","sans-serif";
	mso-ascii-font-family:Arial;
	mso-fareast-font-family:"Times New Roman";
	mso-hansi-font-family:Arial;
	mso-bidi-font-family:"Times New Roman";
	color:#365F91;
	font-weight:bold;}
span.Heading2Char
	{mso-style-name:"Heading 2 Char";
	mso-style-noshow:yes;
	mso-style-priority:9;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Heading 2";
	mso-ansi-font-size:13.0pt;
	mso-bidi-font-size:13.0pt;
	font-family:"Arial","sans-serif";
	mso-ascii-font-family:Arial;
	mso-fareast-font-family:"Times New Roman";
	mso-hansi-font-family:Arial;
	mso-bidi-font-family:"Times New Roman";
	color:#4F81BD;
	font-weight:bold;}
span.Heading3Char
	{mso-style-name:"Heading 3 Char";
	mso-style-priority:9;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Heading 3";
	font-family:"Arial","sans-serif";
	mso-ascii-font-family:Arial;
	mso-fareast-font-family:"Times New Roman";
	mso-hansi-font-family:Arial;
	mso-bidi-font-family:"Times New Roman";
	color:#4F81BD;
	font-weight:bold;}
span.Heading4Char
	{mso-style-name:"Heading 4 Char";
	mso-style-priority:9;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Heading 4";
	font-family:"Arial","sans-serif";
	mso-ascii-font-family:Arial;
	mso-fareast-font-family:"Times New Roman";
	mso-hansi-font-family:Arial;
	mso-bidi-font-family:"Times New Roman";
	color:#4F81BD;
	font-weight:bold;
	font-style:italic;}
span.Heading5Char
	{mso-style-name:"Heading 5 Char";
	mso-style-priority:9;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Heading 5";
	font-family:"Arial","sans-serif";
	mso-ascii-font-family:Arial;
	mso-fareast-font-family:"Times New Roman";
	mso-hansi-font-family:Arial;
	mso-bidi-font-family:"Times New Roman";
	color:#243F60;}
span.Heading6Char
	{mso-style-name:"Heading 6 Char";
	mso-style-priority:9;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Heading 6";
	font-family:"Arial","sans-serif";
	mso-ascii-font-family:Arial;
	mso-fareast-font-family:"Times New Roman";
	mso-hansi-font-family:Arial;
	mso-bidi-font-family:"Times New Roman";
	color:#243F60;
	font-style:italic;}
span.Heading7Char
	{mso-style-name:"Heading 7 Char";
	mso-style-priority:9;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Heading 7";
	font-family:"Arial","sans-serif";
	mso-ascii-font-family:Arial;
	mso-fareast-font-family:"Times New Roman";
	mso-hansi-font-family:Arial;
	mso-bidi-font-family:"Times New Roman";
	color:#404040;
	font-style:italic;}
span.Heading8Char
	{mso-style-name:"Heading 8 Char";
	mso-style-priority:9;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Heading 8";
	mso-ansi-font-size:10.0pt;
	mso-bidi-font-size:10.0pt;
	font-family:"Arial","sans-serif";
	mso-ascii-font-family:Arial;
	mso-fareast-font-family:"Times New Roman";
	mso-hansi-font-family:Arial;
	mso-bidi-font-family:"Times New Roman";
	color:#4F81BD;}
span.Heading9Char
	{mso-style-name:"Heading 9 Char";
	mso-style-priority:9;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Heading 9";
	mso-ansi-font-size:10.0pt;
	mso-bidi-font-size:10.0pt;
	font-family:"Arial","sans-serif";
	mso-ascii-font-family:Arial;
	mso-fareast-font-family:"Times New Roman";
	mso-hansi-font-family:Arial;
	mso-bidi-font-family:"Times New Roman";
	color:#404040;
	font-style:italic;}
span.TitleChar
	{mso-style-name:"Title Char";
	mso-style-priority:10;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:Title;
	mso-ansi-font-size:26.0pt;
	mso-bidi-font-size:26.0pt;
	font-family:"Arial","sans-serif";
	mso-ascii-font-family:Arial;
	mso-fareast-font-family:"Times New Roman";
	mso-hansi-font-family:Arial;
	mso-bidi-font-family:"Times New Roman";
	color:#17365D;
	letter-spacing:.25pt;
	mso-font-kerning:14.0pt;}
span.SubtitleChar
	{mso-style-name:"Subtitle Char";
	mso-style-priority:11;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:Subtitle;
	mso-ansi-font-size:12.0pt;
	mso-bidi-font-size:12.0pt;
	font-family:"Arial","sans-serif";
	mso-ascii-font-family:Arial;
	mso-fareast-font-family:"Times New Roman";
	mso-hansi-font-family:Arial;
	mso-bidi-font-family:"Times New Roman";
	color:#4F81BD;
	letter-spacing:.75pt;
	font-style:italic;}
span.QuoteChar
	{mso-style-name:"Quote Char";
	mso-style-priority:29;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:Quote;
	color:black;
	font-style:italic;}
span.IntenseQuoteChar
	{mso-style-name:"Intense Quote Char";
	mso-style-priority:30;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Intense Quote";
	color:#4F81BD;
	font-weight:bold;
	font-style:italic;}
p.NewDocument, li.NewDocument, div.NewDocument
	{mso-style-name:"New Document";
	mso-style-unhide:no;
	mso-style-qformat:yes;
	mso-style-next:Normal;
	margin-top:0in;
	margin-right:0in;
	margin-bottom:10.0pt;
	margin-left:0in;
	line-height:115%;
	mso-pagination:widow-orphan;
	font-size:12.0pt;
	mso-bidi-font-size:11.0pt;
	font-family:"Arial","sans-serif";
	mso-fareast-font-family:Arial;
	mso-bidi-language:EN-US;}
span.BalloonTextChar
	{mso-style-name:"Balloon Text Char";
	mso-style-noshow:yes;
	mso-style-priority:99;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Balloon Text";
	mso-ansi-font-size:8.0pt;
	mso-bidi-font-size:8.0pt;
	font-family:"Tahoma","sans-serif";
	mso-ascii-font-family:Tahoma;
	mso-hansi-font-family:Tahoma;
	mso-bidi-font-family:Tahoma;
	mso-bidi-language:EN-US;}
span.HeaderChar
	{mso-style-name:"Header Char";
	mso-style-noshow:yes;
	mso-style-priority:99;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:Header;
	mso-ansi-font-size:11.0pt;
	mso-bidi-font-size:11.0pt;
	mso-bidi-language:EN-US;}
span.FooterChar
	{mso-style-name:"Footer Char";
	mso-style-priority:99;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:Footer;
	mso-ansi-font-size:11.0pt;
	mso-bidi-font-size:11.0pt;
	mso-bidi-language:EN-US;}
span.term1
	{mso-style-name:term1;
	mso-style-unhide:no;
	font-weight:bold;}
span.FootnoteTextChar
	{mso-style-name:"Footnote Text Char";
	mso-style-noshow:yes;
	mso-style-priority:99;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Footnote Text";
	mso-bidi-language:EN-US;}
span.SpellE
	{mso-style-name:"";
	mso-spl-e:yes;}
span.GramE
	{mso-style-name:"";
	mso-gram-e:yes;}
.MsoChpDefault
	{mso-style-type:export-only;
	mso-default-props:yes;
	font-size:10.0pt;
	mso-ansi-font-size:10.0pt;
	mso-bidi-font-size:10.0pt;
	mso-ascii-font-family:Arial;
	mso-fareast-font-family:Arial;
	mso-hansi-font-family:Arial;
	mso-bidi-font-family:Arial;}
 /* Page Definitions */
 @page
	{mso-footnote-separator:url("07-10-0472.CR%20opinion_files/header.htm") fs;
	mso-footnote-continuation-separator:url("07-10-0472.CR%20opinion_files/header.htm") fcs;
	mso-endnote-separator:url("07-10-0472.CR%20opinion_files/header.htm") es;
	mso-endnote-continuation-separator:url("07-10-0472.CR%20opinion_files/header.htm") ecs;}
@page WordSection1
	{size:8.5in 11.0in;
	margin:1.0in 1.0in 1.0in 1.0in;
	mso-header-margin:.5in;
	mso-footer-margin:.5in;
	mso-title-page:yes;
	mso-footer:url("07-10-0472.CR%20opinion_files/header.htm") f1;
	mso-paper-source:0;}
div.WordSection1
	{page:WordSection1;}
--&gt;








NO. 07-10-00472-CR

Â&nbsp;

IN THE COURT OF APPEALS

Â&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

Â&nbsp;

AT
AMARILLO

Â&nbsp;

PANEL A

Â&nbsp;



MAY
13, 2011

Â&nbsp;



Â&nbsp;

JOHNNY JOE TONCHE, APPELLANT

Â&nbsp;

v.

Â&nbsp;

THE STATE OF TEXAS, APPELLEE 



Â&nbsp;



Â&nbsp;

&nbsp;FROM THE 64TH DISTRICT COURT OF HALE
COUNTY;

Â&nbsp;

NO. A17269-0707; HONORABLE ROBERT W. KINKAID JR., JUDGE



Â&nbsp;



Â&nbsp;

Before CAMPBELL
and HANCOCK and PIRTLE, JJ.

Â&nbsp;

Â&nbsp;

MEMORANDUM OPINION

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Appellant Johnny
Joe Tonche appeals from the judgment revoking his
community supervision and sentencing him to fifteen months of confinement in a
state jail facility.Â&nbsp; Appellant's
attorney has filed a brief in compliance with Anders v. California, 386 U.S. 738, 87 S.Ct.
1396, 18 L. Ed. 2d 493 (1967) and In re Schulman, 252 S.W.3d 403 (Tex.Crim.App. 2008) and certifies that there are no non-frivolous
issues to appeal. Agreeing with appointed counsel's conclusion the record fails
to show any arguably meritorious issue that could support the appeal, we affirm the trial court's judgment.

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; In July 2007,
appellant was indicted for intentionally or knowingly possessing a controlled
substance, cocaine, in an amount of less than one gram.[1]Â&nbsp; In October 2007, appellant plead guilty to
that offense and was placed on community supervision for a period of three
years.Â&nbsp; AppellantÂs supervision was
conditioned on his compliance with specified terms and conditions.Â&nbsp; 

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Thereafter, in
May 2010, the State filed a motion to revoke appellantÂs community supervision,
alleging six violations.Â&nbsp; The motion was
heard by the court in August 2010.Â&nbsp;
Appellant plead Ânot trueÂ to each of the StateÂs allegations.Â&nbsp; The court heard evidence concerning each.

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; A state trooper
testified that in November 2009, he made a traffic stop of a vehicle on
Interstate Highway 20 in Nolan County, Texas.Â&nbsp;
The driver was identified as Johnny Tonche,
Sr.,[2]
and appellant was one of two passengers in the car.Â&nbsp; After the driver consented to a search of the
car, the trooper searched it and found a suitcase containing 33.98 pounds of
marijuana.Â&nbsp; He also found $23,000 in cash,
Âpackaged in amounts consistent with illegal proceeds from narcotics sales.Â
The trooper arrested appellant along with the other two men in the car.Â&nbsp; 

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; AppellantÂs
community supervision officer testified in support of the motion to revoke,
testifying to appellantÂs failure to report, leaving Hale County without
permission, and failing to pay required fees.

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Based on the
evidence presented before it, the trial court revoked appellantÂs community
supervision and assessed appellantÂs punishment at confinement in a state jail
facility for a period of fifteen months.Â&nbsp;
The court certified appellantÂs right of appeal, and he timely filed
notice of appeal.

Thereafter, appellant's appointed appellate
counsel filed a motion to withdraw and a brief in support pursuant to Anders in which he certifies
that he has diligently reviewed the record and, in his professional opinion,
under the controlling authorities and facts of this case, there is no
reversible error or legitimate grounds on which a non-frivolous appeal arguably
can be predicated. The brief discusses the procedural history of the case and
the proceedings in connection with the motion to revoke
appellant's community supervision.
Counsel discusses the applicable law and sets forth the reasons he believes
there are no arguably meritorious issues on which to appeal. Counsel has
certified that a copy of the Anders brief and motion to withdraw have been served on appellant, and
that counsel has advised appellant of his right to review the record and file a
pro se response. Johnson
v. State,
885 S.W.2d 641, 645 (Tex.App.--Waco 1994, pet. ref'd). By letter, this Court
also notified appellant of his opportunity to submit a response to the Anders
brief and motion to withdraw filed by his counsel. Appellant has not filed a
response.

In conformity with the standards set out by the
United States Supreme Court, we will not rule on the motion to withdraw until
we have independently examined the record. Nichols v. State, 954
S.W.2d 83, 86 (Tex.App.-San Antonio 1997, no
pet.).
If this Court determines the appeal has merit, we will remand it to the trial
court for appointment of new counsel. Stafford
v. State,
813 S.W.2d 503, 511 (Tex.Crim.App.1991).

Counsel concludes the court did not abuse its
discretion in revoking appellant's community supervision.Â&nbsp; We
agree. In community supervision revocation cases, the State has the
burden to establish by a preponderance of the evidence that the terms and conditions
of community
supervision have been violated. Rickels v. State, 202 S.W.3d 759, 764
(Tex. Crim. App. 2006); Cardona
v. State,
665 S.W.2d 492, 493 (Tex. Crim. App. 1984). Our review
of the trial court's order revoking community supervision is
limited to determining whether the trial court abused its discretion. Caddell v. State, 605 S.W.2d 275, 277 (Tex. Crim. App. 1980). When a trial court finds
several violations of community supervision conditions, we affirm the revocation
order if the proof of any single allegation is sufficient. See Hart
v. State,
264 S.W.3d 364, 367 (Tex. App.-Eastland 2008, pet. ref'd); Cochran
v. State,
78 S.W.3d 20, 28 (Tex. App.--Tyler 2002, no pet.).Â&nbsp; We view the evidence in the light most favorable to the
trial court's decision to revoke. Hart, 264
S.W.3d at 367. Moreover, in a revocation proceeding, the trial judge
is the sole trier of the facts, the credibility of
the witnesses, and the weight to be given to witnesses' testimony. Diaz
v. State,
516 S.W.2d 154, 156 (Tex. Crim. App. 1974); Aguilar
v. State,
471 S.W.2d 58, 60 (Tex. Crim. App. 1971).

The trial judge was free to believe the testimony
of the trooper and appellantÂs community supervision officer and find the
testimony proof of the alleged violations.Â&nbsp;
We have reviewed the entire record and have found no arguable grounds
supporting a claim of reversible error, and agree with counsel that the appeal
is frivolous.

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Accordingly, we
grant counselÂs motion to withdraw[3]
and affirm the judgment of the trial court.

Â&nbsp;

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; James
T. Campbell

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Justice

Â&nbsp;

Â&nbsp;

Do not publish.

Â&nbsp;











[1]
See Tex.
Health &amp; Safety Code Ann. Â§ 481.115(b) (West 2003).





[2]
Appellant sometimes is referred
to in the record as Johnny Joe Tonche, Jr. 





[3]Â&nbsp; Counsel shall, within five days after the opinion is handed down, send
his client a copy of the opinion and judgment, along with notification of the
defendantÂs right to file a pro se
petition for discretionary review.Â&nbsp; Tex.
R. App. P. 48.4.Â&nbsp; 







